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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,                    CRIMINAL ACTION NO.
                                              1: 10-CR-00512-JEC-LTW
     v.

 ANTHONY CARTMAN,

       Defendant.


     MAGISTRATE JUDGE'S ORDER AND FINAL REPORT AND
  RECOMMENDATION AND ORDER CERTIFYING CASE READY FOR
                         TRIAL

      This matter is presently before the Court on Defendant Anthony Cartman's

Motion to Dismiss for Violation of the Speedy Trial Act of 1974 pursuant to 18 U.S.C.

§ 3162. Docket Entry [125]. For the reasons set forth below, the undersigned

RECOMMENDS that Defendant Anthony Cartman's Motion to Dismiss for Violation

of the Speedy Trial Act of 1974 pursuant to 18 U.S.C. § 3162 be DENIED. Docket

Entry [125].

                             BACKGROUND FACTS

      On December 8, 2010, Defendant Anthony Cartman ("Defendant") and co­
Defendants Tchaka Jamal Shields, Erron Denise Love-Morgan, and Casita Qwanet
Washington (collectively "Defendants") were indicted by the Grand Jury in the Northern

District of Georgia on federal firearms charges. Docket Entry [1]. Defendants were

charged with operating a conspiracy in which co-Defendants Love-Morgan and
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Washington purchased firearms on behalf of Defendant and co-Defendant Shields, both

of whom are convicted felons and, therefore, are prohibited from purchasing firearms.

(Id.) Defendant was arrested in the Southern District ofNew York on August 5, 2011.1

On August 10, 2011, a magistrate judge in the Southern District ofNew York, held an

identity/removal hearing and ordered Defendant to be transported to the Northern

District ofGeorgia. Docket Entry [79]. On August 22, 2011, Defendant made his initial

appearance in this Court and entered a plea of not guilty. Docket Entry [80].

      Prior to Defendant's initial appearance, on May 17,2011, Defendant filed a

largely nonsensical motion styled "Judicial Notice/Default," in which he appeared to

argue that the Court lacked jurisdiction over him. Docket Entry [67]. On September 7,

2011, the Court held a pretrial conference and directed the clerk to strike Defendant's

Judicial NoticelDefault. Docket Entry [85]. Also, this Court scheduled a Faretta2

hearing for September 21, 2011, to address Defendant's request to proceed pro se. (Id.)

      Two days before the Faretta hearing, on September 19,2011, Defendant filed the

following motions pro se: a Motion to Dismiss for Lack of Subject Matter Jurisdiction

(docket entry [87]), a Motion to Suppress Evidence (docket entry [88]), a Motion for

Plaintiffs Information (docket entry [89]), a Motion to Dismiss for Improper Service of

Process (docket entry [90D, and a Judicial NoticelMandamus (docket entry [91]).

      The Court held a Faretta hearing on September 21,2011, during which Defendant

       1   Defendant was the last of the four co-Defendants to be arrested.
       2   Faretta v. California, 422 U.S. 806 (1975).
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advised the Court that he desired to continue to be represented by counsel. Docket Entry

[92]. The Court then gave the parties until October 4, 2011, to file any additional

motions. (Id.) Although represented by counsel, on October 3,2011, Defendant filed

pro se, a second original Judicial NoticelMandamus. Docket Entry [93]. On October

13, 2011, Defendant also filed pro se, a Writ and NoticelMandamus and an Affidavit for

the Record/Official Notice ofGrievance(s). Docket Entries [96,97].

      Based on Defendanfs "rambling and/or incoherent pleadings," on October 26,

2011, the Government moved for a psychiatric examination ofDefendant at FCI Butner.

Docket Entries [99, 100]. The Court granted the Government's motions on October 28,

2011. Docket Entry [101]. On November 2,2011, the Court amended its October 28,

2011 Order, to allow the psychiatric exam to be conducted at any suitable Bureau of

Prisons facility. Docket Entry [102]. On November 8,2011, Defendant filed pro se a

Writ of Non-Consent to object to the psychiatric examination. Docket Entry [105].

Notwithstanding Defendant's objection, on November 14, 2011, Defendant left the

Northern District of Georgia to be transported to the Metropolitan Correctional Center

in New York ("MCC NY") where his mental competency examination was conducted.

(Gov't's Br., Ex. 1, Docket Entry [130-1]). Defendant was admitted to MCC NY on

November 16,2011. (Id.; Competency to Stand Trial Evaluation, p.1 3). Defendant was

evaluated on November 17 and 21 and December 5,6, and 8, 2011. (Competency to


       3   This document was submitted directly to the Court and does not appear on the
docket.
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Stand Trial Evaluation, pp. 1, 6). While being evaluated, on November 25, 2011,

Defendant     filed   pro   se,   an   Official   Notice/Writ    Requesting     Neutral

PsychiatristlPsychologist to Witness and Oversee Evaluation Sessions. Docket Entry

[106]. On December 12,2011, MCC NY issued its report on Defendant's Competency

to Stand Trial on. (Competency to Stand Trial Evaluation, p. 1). Defendant left MCC
NY to return to the Northern District of Georgia on December 21,2011. (Gov't's Br.,
Ex. 1). Defendant arrived in the Northern District of Georgia on December 28, 2011.

(Id.) Prior to returning to the Northern District ofGeorgia, however, Defendant filed pro

se an Informal ComplaintIModified Request for Documents with a Compelling Need
pursuantto 5 U.S.C. § 552 (FOIA) on December 12, 2011(docketentry [107]), aMotion

(Demand) for Speedy Trial on December 15,2011 (docket entry [110]), and a Motion

to Dismiss Indictment for Denial of Speedy Trial on December 16, 20 11 (docket entry

[112]).
      After Defendant returned to this jurisdiction on December 28, 2011, he filed
several pro se motions. Specifically, Defendant filed a Demand to Dismiss Indictment

on January 3,2012 (docket entry [113]), aMotion to Dismiss on January 5, 2012 (docket

entry [114]), a Motion to Dismiss Indictment on January 6,2012 (docket entry [115]),
a letter regarding his attorney of record on January 9, 2012 (docket entry [116]), a
Notice regarding his counsel of record on January 12, 2012 (docket entry [119]), a

Motion to Dismiss Indictment on January 17,2012 (docket entry [120]), a Demand for
Speedy Trial pursuant to 18 U.S.C. § 3161 on February 1,2012 (docket entry [123]), a

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Motion to Dismiss on February 6, 2012 (docket entry [125]), and an Affidavit on

February 14,2012 (docket entry [126]).

      On February 23,2012, the Court held a hearing on Defendant's January 9, 2012

letter to the Court (docket entry [116]), and Defendant's January 12, 2012 Notice

(docket entry [119]), which the Court construed as motions requesting the dismissal of

Defendant's court-appointed counsel. Docket Entry [127]. After hearing arguments

from Defendant and his counsel, the Court, on Defendant's request, deemed all moti ons,

except Defendant's February 6, 2012 Motion to Dismiss (docket entry [125]), to be

withdrawn. (Id.) Defendant also informed the Court that he did not wish to represent

himself and agreed to continue with his court-appointed counsel. (rd.) The Court gave

the Government through and including March 9, 2012, to respond to Defendant's

remaining Motion to Dismiss. (Id.) On March 9, 2012, the Government filed its

response to Defendant's Motion to Dismiss. Docket Entry [130]. On March 21,2012,

Defendant filed an Affidavit in support of his February 6, 2012 Motion to Dismiss.

Docket Entry [132].

                                  LEGAL ANALYSIS

      Defendant moves to dismiss the indictment on the ground that the Speedy Trial

Act has been violated. Docket Entry [125]. Defendant states that as of the filing of his

motion, it had been six months since he was arrested and eighteen months since the
indictment was "written." (Id.)

      "The Speedy Trial Act of 1974 (Speedy Trial Act or Act), 18 U.S.C. § 3161 et

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seq., requires that a criminal defendant's trial commence within 70 days after he is

charged or makes an initial appearance, whichever is later, see § 3161 (c)( 1), and entitles

him to dismissal of the charges if that deadline is not met, § 3162(a)(2)." Bloate v.

United States, 130 S. Ct. 1345, 1349 (2010). However, the Act excludes from the 70­
day limitations period, delays caused by certain enumerated events. See 18 U.S.C. §
3161(h). Relevant to the Court's analysis here, the following four periods of delay are

excluded from the 70-day time limit: (1) "delay resulting from any proceeding, including

examinations, to determine the mental competency or physical capacity of the
defendant," 18 U.S.C. § 3161(h)(1)(A); (2) "delay resulting from any pretrial motion,

from the filing ofthe motion through the conclusion ofthe hearing on, or other prompt

disposition of, such motion," 18 U.S.C. § 3161(h)(1 )(D); (3) "delay resulting from

transportation of any defendant from another district, or to and from places of
examination or hospitalization, except that any time consumed in excess of ten days
from the date an order of removal or an order directing such transportation, and the

defendant's arrival at the destination shall be presumed to be unreasonable," 18 U.S.C.

§ 3161 (h)( 1)(F); and (4) "delay reasonably attributable to any period, not to exceed
thirty days, during which any proceeding concerning the defendant is actually under

advisement by the court," 18 U.S.C. § 3161(h)(1)(H).

      "In calculating includable time [Le., non-delay periods], both the date on which
an event occurs or a motion is filed and the date on which the court disposes ofa motion
are excluded." United States v. Yunis, 723 F.2d 795, 797 (11th Cir. 1984) (internal

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citations omitted). "For pretrial motions that do not require hearings, ... [i]fthe court

has all the information necessary to rule on the motion at the time the motion is filed, the

court immediately has the motion under advisement under § 3161(h)(1)[(H)] and thirty

days may be excluded from the speedy trial clock due to the motion." United States v.

Davenport, 935 F.2d 1223, 1228 (11th Cir. 1991) (citing Henderson v. United States,

476 U.S. 321, 327-28 (1986)). If, however, the court allows the parties to submit

additional materials relating to the motion by a certain date, "[t]he motion is not under

advisement by the court during this period oftime, which is automatically excluded from

the speedy trial clock." Id. "Once the period for filing additional materials expires, the

court takes the motion under advisement for purposes of § 3161 (h)(1 ) [(H)] and no more

than thirty additional days may be excluded from the speedy trial clock." Id. On the

other hand, "for motions that require hearings, § 3161(h)(I)[(D)] excludes all time

between the filing of the motion and the conclusion of the hearing at which it is

addressed." Id. "Once the hearing is concluded, the motion is treated exactly like a

motion for which no hearing is required[, in that i]fthe court has all materials necessary

to rule on the motion, the court is deemed to have taken the motion under advisement

immediately following the hearing and § 3161(h)(1)[(H)] permits no more than thirty

additional days to be excluded." Id. If, however, the court allows the parties to submit
supplemental materials regarding the motion, "[t]his period of time is automatically

excluded."    Id.   "Once the court concludes the hearing and the time for filing

supplemental materials expires, the court has taken the motion under advisement and §

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3161(h)(1)[(H)] permits no more than thirty additional days to be excluded from the

speedy trial clock." Id. Applying the law and construing it most favorably toward

Defendant, the undersigned concludes that there has been no violation of the Speedy

Trial Act.

      1.     Starting the Speedy Trial Clock
      In this case, Defendant was indicted by a federal grand jury in the Northern

District of Georgia on December 8, 2010, but Defendant did not make his initial

appearance in this Court until August 22, 2011. Defendant entered a plea of not guilty

at his initial appearance. Therefore, the Speedy Trial Act's 70-day time limit began to
run on August 22, 2011. See 18 U.S.C. § 3161 (c)(1) ("In any case in which a plea ofnot

guilty is entered, the trial of a defendant charged in an information or indictment with

the commission of an offense shall commence within seventy days from the filing date

(and making public) ofthe information or indictment, or from the date the defendant has

appeared before a judicial officer of the court in which such charge is pending,

whichever date last occurs.").

      2.     August 22, 2011 to September 7. 2011

      Prior to Defendant's initial appearance in this Court, Defendant filed a motion

styled as "Judicial NoticelDefault" on May 17, 2011. Docket Entry [67]. Therein,
Defendant challenged this Court's jurisdiction over him. (Id.) Defendant's motion was

pending at the time of his initial appearance and remained pending until the Court
ordered it to be stricken from the docket during the September 7, 2011 pretrial

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conference. The Government concludes that the time between Defendant's arrest and

the disposition of Defendant's Judicial NoticelDefault on September 7, 2011, is

excludable pursuant to 18 U.S.C. § 3161(h)(1)(D), as a period of delay resulting from

a pretrial motion.

      As an initial matter, the Court notes that the time between Defendant's arrest and

his initial appearance is not relevant to the speedy trial computation because Defendant's

speedy trial clock did not start until Defendant made his initial appearance.

Nevertheless, this Court agrees that the time between Defendant's initial appearance and

this Court's disposition of Defendant's Judicial NoticelDefault on September 7, 2011,

is excludable. Although Defendant filed his Judicial NoticelDefault on May 17,2011,

because Defendant had not made an initial appearance, his speedy trial clock had not yet

been triggered. As such, this Court was under no obligation to promptly dispose of

Defendant's Judicial NoticelDefault pursuant to the Speedy Trial Act. 4 However, once

the speedy trial clock began on August 22, 2011, this Court was required to comply with

the time limits set forth in the Speedy Trial Act and was required to promptly dispose

        4 Even if Defendant's speedy trial clock had been triggered before Defendant
filed his Judicial NoticelDefault, it is worth noting that this Court could not have ruled
upon Defendant's personal jurisdiction challenge until Defendant made his initial
appearance. It is well settled that "[a] federal district court has personal jurisdiction
to try any defendant brought before it on a federal indictment charging a violation of
federal law." United States v. Rendon, 354 F.3d 1320, 1326 (lIth Cir. 2003) (internal
citations omitted). In this case, Defendant was indicted by a federal grand jury on
December 8,2010. However, Defendant was not "brought before" this Court until his
initial appearance on August 22, 2011. Therefore, the issue of personal
jurisdiction-and hence Defendant's Judicial NoticelDefault-was not ripe for
consideration until August 22, 2011.
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of Defendant's pending pretrial motion pursuant to 18 U.S.C. § 3161(h)(1)(D), (H).

Assuming, without deciding, that on August 22, 2011, the Court had all ofthe materials

before it that it needed to decide Defendant's motion, the Court was allowed thirty days

to rule on Defendant's Judicial NoticelDefault. See Davenport, 935 F.2d at 1228; see

also 18 U.S.C. § 3161(h)(1)(D), (H). This Court disposed of Defendant's Judicial

NoticelDefault on September 7, 2011, sixteen days after Defendant's speedy trial clock

began on August 22, 2011. Accordingly, the period oftime between August 22, 2011,

and September 7, 2011, is excludable as a delay due to the filing and resolution of a

pretrial motion. See 18 U.S.C. § 3161(h)(1)(D),(H).

      3.     September 7, 2011 to September 21, 2011

      The period between September 7, 2011 and September 21, 2011 is excludable.

During the September 7, 2011 pretrial conference, Defendant petitioned the Court to

proceed pro se. The Court construed Defendant's request to be an oral motion, which

required a Faretta hearing for the Court to resolve. Oral motions made on the record,

like written motions, toll the speedy trial clock. United States v. Broadwater, 151 F.3d

1359, 1361 (11 th Cir. 1998). This Court held a Faretta hearing on September 21,2011,

during which Defendant abandoned his request to proceed pro se. Thus, the period

between September 7,2011, and September 21, 2011, is excludable as a delay due to the

filing and resolution of a pretrial motion. See 18 U.S.C. § 3161(h)(1)(D); see also

United States v. Dunn, 345 F.3d 1285, 1295 (lIth Cir. 2003) (excluding the time from

the filing of the motion until the hearing needed to resolve the motion).

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      4.     September 19.2011 to October 19. 2011

      The overlapping period from September 19,2011, until at least October 19, 2011,

is excludable. Prior to the Faretta hearing, on September 19,2011, Defendant filed five

motions. Specifically, Defendant filed a Motion to Dismiss for Lack of Subject Matter

Jurisdiction (docket entry [87]), a Motion to Suppress Evidence (docket entry [88]), a

Motion for Plaintiff s Information (docket entry [89]), a Motion to Dismiss for Improper

Service of Process (docket entry [90]), and a Judicial NoticelMandamus (docket entry

[91]). Assuming, without deciding, that each ofthese motions could be resolved without

a hearing and solely based on the materials Defendant submitted to the Court, the thirty­

day period from September 19,2011, until October 19,2011, is excludable. s See

Davenport, 935 F.2d at 1228; see also 18 U.S.C. § 3161(h)(1)(H) (excluding "delay

reasonably attributable to any period, not to exceed thirty days, during which any

proceeding concerning the defendant is actually under advisement by the court").

      5.     October 13.2011 to November 12,2011

      The overlapping period from October 13,2011, until at least November 12,2011,

is excludable. Prior to October 19, 2011, Defendant filed three additional "motions.,,6

      5 The Government makes no argument about whether a hearing was required on
any of the motions Defendant filed in this action.
       6 Although Defendant was represented by counsel at the time he filed these
documents, because Defendant was acting pro se, this Court has liberally construed
the documents to be motions. See Hughes v. Lott, 350 F.3d 1157, 1160 (11th Cir.
2003) ("Pro se pleadings are held to a less stringent standard than pleadings drafted
by attorneys and will, therefore, be liberally construed") (internal quotation and
citation omitted).
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Specifically, on October 3, 2011, Defendant filed pro se, a second original Judicial
NoticelMandamus (docket entry [93]), and on October 13,2011, Defendant filed pro se,

a Writ and NoticelMandamus and an Affidavit for the RecordJOfficial Notice of

Grievance(s) (docket entries [96, 97]). Again, assuming, without deciding, that each

of these motions could be resolved without a hearing and based solely on the materials

Defendant presented to this Court, the thirty-day period from October 13,2011, the date

of the latest-filed motion, until at least November 12, 2011, is excludable.       See

Davenport, 935 F.2d at 1228; see also 18 U.S.C. § 3161(h)(1)(H) (excluding "delay

reasonably attributable to any period, not to exceed thirty days, during which any
proceeding concerning the defendant is actually under advisement by the court").
      6.     November 13,2011 to November 16,2011

      The period from November 13,2011, until November 16,2011, does not appear

to be excludable. On October 26, 2011, the Government moved for Defendant to

undergo a psychiatric examination atFCI Butner. Docket Entries [99, 100]. The Court

granted the Government's motions on October 28, 2011, allowing Defendant to be

examined at FCI Butner (docket entry [101]), and then filed an Amended Order on
November 2, 2011, allowing Defendant to be examined at any suitable Bureau of
Prisons facility (docket entry [102]). Pursuant to the Court's November 2,2011 Order,
Defendant left the Northern District of Georgia on November 14,2011, and arrived at

MCC NY on November 16, 2011. (See Gov't's Br., Ex. 1). Although the Speedy Trial
Act allows for any "delay resulting from transportation of any defendant from another

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district, or to and from places of examination or hospitalization" to be excluded; "any

time consumed in excess of ten days from the date an order of removal or an order

directing such transportation, and the defendant's arrival at the destination shall be

presumed to be unreasonable." 18 U.S.C. § 3161(h)(1)(F). Here, the Order that directed

Defendant's transfer to MCC NY was entered on November 2,2011. Ten days from

November 2,2011, is November 12,2011. Defendant did not arrive at MCC NY until

November 16,2011. Therefore, pursuant to 18 U.S.C. § 3161(h)(1)(F), the four days

from November 13,2011, until November 16,2011, are not excludable. Accordingly,

four days are counted against the speedy trial clock.

      7.     November 17, 2011 to December 12,2011

      The period from November 17, 2011, until December 12, 2011, is excludable.

Defendant was evaluated at MCC NY on November 17 and 21, 2011, and then again on

December 5, 6, and 8, 2011. (See Competency to Stand Trial Evaluation, pp. 1, 6).

MCC NY issued its report regarding Defendant's competency to stand trial on December

12,2011. (Id., p. 1). Therefore, the period from November 17,2011, until December

12, 2011, is excludable. See 18 U.S.C. § 3161(h)(1)(A) (excluding "delay resulting

from any proceeding, including any examinations, to determine the mental competency

or physical capacity of the defendant"); United States v. Karoly, 924 F.2d 1053 (table

decision), 1991 WL 7718, at *1 (4th Cir. Jan. 30, 1991) (noting "the time contemplated

by a proceeding to determine the mental capacity ofthe defendant encompasses the time

it takes the examiner to evaluate and report on his findings").

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      8.    December 12, 2011 to January 11,2012
      The period from December 12, 2011, until at least January 11, 2012, is

excludable. On December 12, 2012, Defendant filed a motion styled as "Informal

ComplaintlModified Request for Documents with a Compelling Need pursuant to 5

U.S.C. § 552 (FOIA)." Docket Entry [107]. Assuming, without deciding, that this

motion could be resolved without a hearing and solely based on the materials Defendant
submitted to the Court, the thirty-day period from December 12, 2011, until at least

January 11,2012, is excludable. See Davenport, 935 F.2d at 1228; see also 18 U.S.C.

§ 3161 (h)( 1)(H) (excluding "delay reasonably attributable to any period, not to exceed
thirty days, during which any proceeding concerning the defendant is actually under

advisement by the court").

      9.    January 9, 2012 to February 23, 2012

      The overlapping period from January 9, 2012, until February 23, 2012, is

excludable. Prior to January 12,2012, Defendant filed a Motion (Demand) for Speedy
Trial on December 15,2011 (docket entry [110]), a Motion to Dismiss Indictment for

Denial of Speedy Trial on December 16, 2011 (docket entry [112]), a Demand to

Dismiss Indictment on January 3, 2012 (docket entry [113]), a Motion to Dismiss on
January 5, 2012 (docket entry [114]), a Motion to Dismiss Indictment on January 6,

2012 (docket entry [115]), and a letter regarding his attorney of record on January 9,

2012 (docket entry [116]). This Court construed Defendant's January 9, 2012 letter
regarding his attorney to be a motion requesting the dismissal of Defendant's court­

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appointed attorney.    (See Docket Entry [127].)      This Court held a hearing on

Defendant's letter on February 23,2012. Therefore, the period from January 9, 2012,

until the February 23, 2012 hearing is excludable. See 18 U.S.C. § 3161(h)(1)(D)

(excluding "delay resulting from any pretrial motion, from the filing of the motion

through the conclusion ofthe hearing on, or other prompt disposition of, such motion");

see also Dunn, 345 F.3d as 1295 (excluding the time between the filing of the motion

and the hearing needed to resolve it); United States v. Tobin, 840 F.2d 867, 870 (lIth

Cir. 1988) (eight month-delay between filing of the motion to suppress and hearing on

the motion counted as excludable delay).

      10.    February 6, 2012 to AprilS, 2012

      The overlapping period from February 6, 2012, until April 8, 2012, is also

excludable. Defendant filed the instant Motion to Dismiss on February 6,2012. Docket

Entry [125]. At the February 23,2012 hearing, this Court gave the Government until

March 9, 2012, to respond to Defendant's Motion to Dismiss. The Government filed its

response on March 9, 2012. At that point, this Court took Defendant's Motion to

Dismiss under advisement and had thirty days, or until April 8, 2012, to rule on his

motion. Therefore, the period from February 6, 2012, until April 8, 2012, is excludable.

See Davenport, 935 F.2d at 1228.




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      11.    Total Speedy Trial Computation

      As this Court informed Defendant during the February 23, 2012 hearing,

Defendant's actions in repeatedly filing pro se motions has been the primary cause of

any delay in the trial ofthis case. Therefore, as ofthe filing ofthe undersigned's instant

Report and Recommendation, at most four of the seventy days on Defendant's speedy

trial clock had elapsed. Accordingly, Defendant's Motion to Dismiss the Indictment

should be DENIED.

                                    CONCLUSION

      For the foregoing reasons, the undersigned RECOMMENDS that Defendant's

Motion to Dismiss the Indictment be DENIED. Docket Entry [125]. As there are no

further motions pending, the undersigned certifies this case ready for trial. The clerk is

directed to terminate the reference to the undersigned.

      IT IS SO ORDERED AND REPORTED AND RECOMMENDED, this 9th

day of April, 2012.

                                 slLinda T. Walker
                                 LINDA T. WALKER
                                 'UNITED STATES MAGISTRATE JUDGE




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 UNITED STATES OF AMERICA,                      CRIMINAL ACTION NO.
                                                1: 1O-CR-00512-JEC-LTW
      v.

 ANTHONY CARTMAN,

       Defendant.


      ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

       Attached is the report and recommendation ofthe United States Magistrate Judge

made in this action in accordance with 28 U.S.C. § 636 and N.D. Ga. CrR. 59(2)(a). Let

the same be filed and a copy, together with a copy ofthis Order, be served upon counsel

for the parties.

       Pursuant to 28 U.S.C. § 636(b) (1), within fourteen (14) days after service ofthis

order, each party may file written objections, if any, to the Report and Recommendation

("R&R"). Pursuant to Title 18, United States Code, Section 3161(h) (1) (D), (H), the

above-referenced fourteen (14) days allowed for objections is EXCLUDED from

the computation of time under the Speedy Trial Act, whether or not the objections

are actually filed. If objections to this R&R are filed, the Clerk is DIRECTED to

EXCLUDE from the computation of time, all time between the filing of the R&R and

the submission of the R&R, along with any objections, responses, and replies thereto,
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to the District Judge. 18 U.S.C. § 3161(h)(1 )(D), (H); Henderson v. United States, 476

U.S. 321, 331 (1986); United States v. Mers, 701 F.2d 1321, 1337-38 (1Ith Cir. 1983).

      Should objections be filed, they shall specify with particularity the alleged error

or errors made (including reference by page number to the transcript if applicable) and

shall be served upon the opposing party. The party filing objections will be responsible

for obtaining and filing the transcript of any evidentiary hearing for review by the

district court. Ifno objections are filed, the report and recommendation may be adopted

as the opinion and order ofthe district court and any appellate review offactual findings

will be limited to a plain error review. United States v. Slay, 714 F.2d 1093 (11 th Cir.

1983), cert. denied, 464 U.S. 1050 (1984).

      The Clerk is directed to submit the report and recommendation with

objections, if any, to the District Court after expiration of the above time period.

      SO ORDERED, this 9th day of April, 2012.


                                         slLinda T. Walker
                                         LINDA T. WALKER
                                         UNITED STATES MAGISTRATE JUDGE
